          Case 1:18-cv-02844-RDB Document 627-3 Filed 05/30/22 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 SECURITIES AND EXCHANGE                       )
 COMMISSION,                                   )
                                               )
           Plaintiff,                          )
                                               )       Case No.: 1:18-cv-02844-RDB
 v.                                            )
                                               )
 KEVIN B. MERRILL, et al.,                     )
                                               )
           Defendants.                         )


       ORDER GRANTING RECEIVER’S MOTION FOR APPROVAL OF SECOND
                INTERIM FEE APPLICATION OF BDO USA, LLP

         Before the Court is the Receiver’s Motion for Approval of Second Interim Fee Application

of BDO USA, LLP (the “Motion”). Having considered the Motion, and any responses or

objections thereto, the evidence presented, and arguments of counsel, if any, the Court finds that

the time spent, services performed, hourly rates charged, and expenses incurred by BDO USA,

LLP on behalf of the Receivership Estate were reasonable and necessary for the Receiver to

perform his Court-ordered duties. The Court, having reviewed the Motion, is of the opinion that

the Motion be and is hereby GRANTED.

         It is therefore ORDERED that payment in the amount of $42,757.00 for fees and expenses

incurred between June 1, 2020 and December 31, 2021 is approved.

Signed this ____ day of ______________, 2022.




                                             RICHARD D. BENNETT
                                             UNITED STATES DISTRICT COURT JUDGE




                                                                                             Page 1
HB: 4854-2142-2367.3
